         Case 1:15-cv-13617-FDS Document 62 Filed 04/18/17 Page 1 of 1




                       COMMONWEALTH OF MASSACHUSETTS
                    DIVISION OF ADMINISTRATIVE LAW APPEALS
                           SPECIAL EDUCATION APPEALS


Student v. Natick Public Schools                                  BSEA #1408860




                      HEARING OFFICER’S FINDINGS ON REMAND


In rendering the Decision in the matter of Student v. Natick Public Schools, BSEA #1408860, the
Hearing Officer applied the standard articulated in numerous First Circuit cases. “[T]o comply
with IDEA, an IEP must be reasonably calculated to confer a meaningful educational benefit.”
D.B. ex rcl Elizabeth B. v. Esposito, 675 F.3d 26 at 34 (1st Cir. 2012); see also Sebastian M. v.
King Philip Regional School Dist., 685 F.3d 791 (1st Cir. 2012). Both decisions relied on Bd. Of
Educ. of Hendrick Hudson Central Sch. Dist., Westchester County v. Rowley, 458 U.S. 176, 207
(1982) in articulating the standard.

This standard is in accordance with and conforms with the standard enunciated in Endrew F. v.
Douglas County. Sch. Dist., 580 U.S.__(March 22, 2017), in which the Court decided that for
an IEP to provide a FAPE, it must be “reasonably calculated to enable a child to make progress
appropriate in light of the child’s circumstances.” At no time have the Massachusetts courts or
the Bureau of Special Education Appeals utilized the “merely more than de minimus” standard
adopted by the Tenth Circuit, and rejected by the Supreme Court.

The decision reached in this case is not impacted by the Endrew F. case. Therefore, no further
proceedings at the BSEA are warranted or appropriate.




By the Hearing Officer,



Catherine M. Putney-Yaceshyn fj                 “
Dated: April 10,2017 .
